                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR 02-1012-LRR
 vs.
 JAMES BUCHANAN,                                               ORDER
               Defendant.
                                ____________________


       The matter before the court is Defendant James Buchanan’s Motion to File Notice
of Appeal Nunc Pro Tunc (docket no. 130).
       On December 5, 2002, the grand jury returned a four-count Superseding Indictment
against Defendant and co-defendant John McCauley. McCauley was charged in all four
counts. Defendant was charged in Counts 2 through 4. Count 2 charged on or about
January 31, 2002, McCauley and Defendant, after each having been previously convicted
of a felony drug offense, did knowingly and intentionally distribute and aid and abet the
distribution of approximately 3.61 grams of a mixture or substance containing a detectable
amount of cocaine base, more commonly called “crack cocaine,” and 0.76 grams of
cocaine, both being Schedule II controlled substances, in violation of 21 U.S.C.
§§ 841(a)(1), (b)(1)(C) and 851 and 18 U.S.C. § 2. Count 3 charged on or about
January 25, 2002, McCauley and Defendant, after each having been previously convicted
of a felony drug offense, did knowingly and intentionally distribute and aid and abet the
distribution of approximately 0.51 grams of a mixture or substance containing a detectable
amount of cocaine base, more commonly called “crack cocaine,” a Schedule II controlled




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substance, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 851 and 18 U.S.C. § 2.
Count 4 charged on or about February 7, 2002, McCauley and Defendant, after each
having been previously convicted of a felony drug offense, did knowingly and intentionally
distribute and aid and abet the distribution of approximately 17.38 grams of a mixture or
substance containing a detectable amount of cocaine base, more commonly called “crack
cocaine,” a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1),
(b)(1)(B) and 851 and 18 U.S.C. § 2.           On January 17, 2003, the court accepted
Defendant’s pleas of guilty to Counts 2 through 4 of the Superseding Indictment.
       On June 19, 2003, the court entered Judgment against Defendant and sentenced him
to a prison term of 292 months and a supervised release term of eight years, and ordered
him to pay a $300.00 special assessment. Defendant did not file a notice of appeal to
receive direct review of his conviction or sentence, and he did not file a motion pursuant
to 28 U.S.C. § 2255 (a “§ 2255 motion”) to receive collateral review of his conviction or
sentence.
       On October 26, 2004, the Clerk of Court filed Defendant’s Motion to File Notice
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of Appeal Nunc Pro Tunc (“Motion”) (docket no. 130) under consideration here.
Defendant moves the court pursuant to the All Writs Act, 28 U.S.C. § 1651 (“§ 1651”),
to permit him to file a notice of appeal. In his motion, Defendant avers he asked Wallace
Taylor, his attorney in this criminal case, immediately following his sentence to file a
notice of appeal in this criminal matter. Defendant avers Mr. Taylor told him he would
file the required notice of appeal with the court. Defendant avers that, after reading of the


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         The court is cognizant that Defendant made this filing without the assistance of
counsel. Such filings are to be liberally construed and held to a less stringent standard than
filings drafted by a lawyer. Taylor v. Dickel, 293 F.3d 427, 432 (8th Cir. 2002) (citing
Haines v. Kerner, 404 U.S. 519, 520-21 (1972)).

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United States Supreme Court’s decision in Blakely v. Washington, ___ U.S. ___, 124 S.
Ct. 2531 (2004), he called Mr. Taylor to check on the status of his appeal and to ask what
effect, if any, Blakely had on his case. Defendant avers Mr. Taylor stated he had not filed
a notice of appeal. Defendant admits he is procedurally barred now from bringing a direct
appeal. Defendant also admits that the issues he wishes to raise are more properly brought
pursuant to 28 U.S.C. § 2255 (“§ 2255”). Defendant acknowledges, however, that he is
procedurally barred from bringing a § 2255 motion by the statute of limitations provided
in the Antiterrorism and Effective Death Penalty Act (the “AEDPA”). Defendant argues
the proper relief for the alleged error of his attorney is “for the court to reinstate
Defendant[’]s right to appeal.” Defendant argues the court has the power to grant such
relief pursuant to § 1651 and should grant him an evidentiary hearing on these issues.
       As Defendant admits, he is procedurally barred from filing a notice of appeal in his
criminal case because he failed to meet the deadlines set forth in Rule 4(b) of the Federal
Rules of Appellate Procedure (“Rule 4(b)”). See Fed. R. App. P. 4(b)(1)(A)(i) (requiring,
in relevant part, that a criminal defendant file a notice of appeal in the district court within
ten days of the entry of the judgment against him); Fed. R. App. P. 4(b)(4) (providing a
criminal defendant an additional thirty days to file a notice of appeal where the district
court finds excusable neglect or good cause for missing the earlier deadline). “[I]n a
criminal case, ‘after the expiration of forty days from the entry of a final judgment there
is nothing either the trial court or the court of appeals can do to extend the time for filing
notice of appeal.’” United States v. Carter, 990 F.2d 402, 403 (8th Cir. 1993) (quoting
United States v. June, 503 F.2d 442, 443-44 (8th Cir. 1974)). Despite Defendant’s
contention to the contrary, no court has jurisdiction to grant Defendant’s requested relief
of a direct review of this criminal matter. Following the expiration of the deadlines set in
Rule 4(b), Defendant may only seek collateral review of his conviction and/or sentence by

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filing a § 2255 motion.
       As Defendant also admits, he is procedurally barred from filing a § 2255 motion
because he failed to meet the deadlines required by the AEDPA. The AEDPA requires,
in pertinent part, that Defendant seek collateral review of any claims within one year of
the date on which the judgment of conviction was final, that is, by August 2, 2004. See
28 U.S.C. § 2255(1). Therefore, no court has jurisdiction to grant Defendant’s requested
relief of collateral review of this criminal matter.
       Defendant attempts to bypass these procedural bars by moving the court pursuant
to § 1651, the All Writs Act. The “All Writs Act is meant to be used only in the
exceptional case where there is clear abuse of discretion or ‘usurpation of judicial power’
. . . .” La Buy v. Howes Leather Co., 352 U.S. 249, 257 (1957) (quoting Bankers Life
& Cas. Co. v. Holland, 346 U.S. 379, 383 (1953)) (internal quotation marks omitted).
“[T]he All Writs Act is a residual source of authority to issue writs that are not otherwise
covered by statute. Where a statute specifically addresses the particular issue at hand, it
is that authority, and not the All Writs Act, that is controlling.” Noske, 235 F.3d at 406
(citing Carlisle v. United States, 517 U.S. 416, 429 (1996)).
       As Defendant himself admits, the relief he seeks is exactly the type of relief
properly sought by a motion to vacate, set aside or correct a sentence pursuant to § 2255.
It is well settled that inmates may not circumvent the procedural requirement associated
with bringing a § 2255 motion by forcing their claims through other procedural
mechanisms. See United States v. Noske, 235 F.3d 405, 406 (8th Cir. 2000) (per curiam)
(affirming a district court’s denial of a motion pursuant to § 1651, where “the appropriate
means for [the defendant] to challenge her sentence is § 2255”); cf. United States v.
Patton, 309 F.3d 1093, 1094 (8th Cir. 2002) (affirming a district court’s denial of the
defendant’s petition under Rule 12(b)(2) of the Federal Rules of Criminal Procedure

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because the Eighth Circuit Court of Appeals has “consistently held that inmates may not
bypass the limitation on successive habeas petitions” by attempting to invoke some other
procedure) (citing Noske, 235 F.3d at 406 (same where the defendant moved pursuant to
§ 1651); United States v. Lurie, 207 F.3d 1075, 1077 (8th Cir. 2000) (same where the
defendant moved pursuant to 28 U.S.C. § 2241); Williams v. Hopkins, 130 F.3d 333, 336
(8th Cir. 1997) (same where the defendant moved pursuant to 42 U.S.C. § 1983); Ruiz v.
Norris, 104 F.3d 163, 164 (8th Cir. 1997) (same where the defendant moved to recall
mandate); Mathenia v. Delo, 99 F.3d 1476, 1480 (8th Cir. 1996) (same where the
defendant moved pursuant to Fed. R. Civ. P. 60(b)(6))). “[B]oth the law and common
sense suggest federal prisoners cannot skirt designated procedural pathways by
renumbering their filings.” United States ex rel. Perez v. Warden, 286 F.3d 1059, 1061
(8th Cir. 2002) (referring to prisoners’ attempts to file motions pursuant to 28 U.S.C.
§ 2241 in lieu of proper § 2255 motions). Thus, § 1651 does not provide the defendant
with a means through which he may challenge his conviction or sentence because the relief
Defendant seeks was more properly brought in a § 2255 motion.
      Accordingly, the court DENIES Defendant James Buchanan’s Motion to File Notice
of Appeal Nunc Pro Tunc (docket no. 130).


      IT IS SO ORDERED.
      DATED this 20th day of May, 2005.




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